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                                                                                      FILED IN CLERK'S OFFICE
                                                                                          U.S.D.C. -Atlanta
                      IN THE UNITlD STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA                    ~':,A.
                                                                                         AUG 1a 2016
                                     ATLANTA DIVISION
                                                                             -

ALFONZA MCKEEVER JR.                           )     Bankruptcy File No.
       Debtor                                  )     10-92243-WLH
                                               )
                v.                             )
                                               )
                                                        1:16-CV-3032
Wendy L. Hagenau (JUDGE, USBC);                )
Cathy Scarver (TRUSTEE, USBC)                   )
William Russell Patterson, et. al.             )




                     BANKRUPTCY DEBTOR'S COMPLAINT IN FRAUD
       COMES NOW the Debtor, in propia persona, Alfonza McKeever ("McKeever"),
in the above-styled action, pursuant to US Const Amends. 5 and 14; and 42 USC§ 1983
and hereby files and submits this COMPLAINT against the US BANKRUPTCY COURT
and TRUSTEE and other Defendants according to the manner provided by law.                 In
support hereof, McKeever shows the Court the following:


                               I.          JURISDICTION
Jurisdiction is proper in this court, ;mrsuant to 28 USC § 1331, as the amount in
                        115;~.t;b     -·
controversy exceeds 175,000.00 and the merits of the action involves questions
concerning rights held under the US Constitution.


                               II.         PARTIES AND VENUE




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       1.      Plaintiff, Alfonza McKeever ("McKeever"), is the the Petitioner in the
subject pending bankruptcy action case no. 10 - 92243 in the UNITED STATES
BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF GEORGIA. Plaintiff
resides at 4020 Berry Hill Trail, Stone Mountain, Georgia 30083. Plaintiff is subject to
the jurisdiction of this COURT.
       2.      Defendant, Wendy L. Hagenau ("JUDGE HAGENAU"), is the
PRESIDING JUDGE in US BANKRUPTCY COURT action no. 10-92243.
JUDGE HAGENAU maintains offices and an agent located at US COURTHOUSE -
OFFICE OF THE US BANKRUPTCY COURT CLERK - 75 Ted Turner Drive, SW,
Atlanta, Ga. 30303. WDGE HAGENAU is subject to the jurisdiction of this COURT.
       3.      Defendant, Cathy L,, Scarver (TRUSTEE SCARVER"), is the TRUSTEE
                                    ~

matter cited above in ground no.2 and may be located at the OFFICE OF THE US
BANKRUPTCY TRUSTEE located at the same address.              Cathy Scarver is subject to
the juRisdiction of this COURT.
       4.      Defendant, William Russell Patterson ("Patterson"), is the TRUSTEE's
Counsel matter cited above in ground no.2 and may be located at the OFFICE OF THE
US BANKRUPTCY TRUSTEE lo~ated at the same address.                   Patterson is subject to
the juRisdiction of this COURT.




                 I.      STATEMENT OF THE ALLEGED FACTS
       5.      Mckeever filed the instant voluntary Chapter 13 bankruptcy petition on
October 29, 2010;
       6.      On July 13, 2011, the instant action was converted to a Chapter 11 action
by order of the COURT upon McKeever's motion. (docket. nos. 44,45);
       7.      Since the time McK~ever filed this action with the COURT, the COURT
has failed to give due consideration'.to Mckeever's claims and concerns on a reasonable
and equal basis as the claims of the TRUSTEE in this matter;


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                                    -
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       11.     The COURT has shown active bias and prejudice by allowing the
TRUSTEE to skirt established law concerning the TRUSTEE's fiduciary duties to
McKeever' s estate without reprimand or censure, and has granted every request made by
the TRUSTEE without reserve whife denying each request for relief made by McKeever
                                     !
without explanation;
       12.     The COURT has shown active bias and prejudice against McKeever and
                                     i

favor of the TRUSTEE without cau~e which has prevented McKeever from enjoying
access to a fair process and which has resulted in the COURT rendering decisions by way
of substantive orders that has wrongly disposed ofMcKeever's assets without the intent
or effect of satisfying McKeever's legitimate and verifiable debts, and which have caused
the TRUSTEE and other unqualified;; non-parties/non-creditors to receive an unjust direct
monetary benefit in exchange for some unknown and unlawful consideration at the
expense of the McKeever estate;
       13.     At all times during the pendency of this action, it appears from the record
and supporting unrecorded facts, that the COURT is actively conspiring with the
TRUSTEE (and others interested) to deprive McKeever of access to a fair court in order
to wrongfully use the bankruptcy pr:ocess to deprive McKeever of McKeever' s estate
property under color of law for the ~ole and exclusive benefit of persons not associated
with McKeever's estate or the estates' creditor's claims;
       14.     McKeever, being a petitioner whom is not a licensed attorney,



                                    I
                                  v.:,    RIGHT TO RELIEF


       Whereas Plaintiff is entitled.to a fair court and trial process without incurring
duress, and the benefit of due process absent fraud and misuse of government power.
       Whereas McKeever asserts that the above and within claims of facts tend to raise
questions in the mind of objective and reasonable persons concerning the impartiality and
fairness of the COURT such that the same afronts the Code of Judicial Conduct.


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                                     ,
                                     ;;




        McKeever is entitled to and move for this case to be properly and expeditiously
reassigned according to law, and to.due process that proceeds without diversion or
unnecessary delay, McKeever moves his Court to decide the subject Motion to Recuse
and file such final order accordingI¥.




                                      V.    RELIEF REQUESTED


       WHEREAS, for the reasons.above and within, which Plaintiff hereby attests and
certifies as true and correct based upon Plaintiffs direct and personal knowledge of the
same, Plaintiff respectfully moves *is Court:
       (I)     For a stay of execution of any order of record on the merits of this action
               until such time as any appeal is fully disposed;
       (2)     For a Final Order on the Motion to Recuse be filed; entered; and served
               upon the Parties hereof, and;
       (3)     For such further and' additional relief deemed just and proper in this
               Court's discretion.


Respectfully Filed and Submitted,
       This f.E:-day of February, 2016.




       4020 Berry Hill Trail
       Stone Mountain, Ga. 30083
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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that J have this day served counsel for all concerned parties
with a copy of the within and foregoing pleading by hand delivery or by depositing a
copy of same in the United States Mail in a properly addressed envelope with sufficient
postage affixed thereto to ensure delivery and addressed to:
Cathy Scarver - P.O.Box 7287, Marietta, Ga. 30006


Erich N Durlacher - 171 17th Street, NW, Ste 100, Atlanta, Ga. 30363




       This 18 day of August, 2016.




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